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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                              MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                         SECTION “H” (5)

THIS DOCUMENT RELATES TO


Plaintiff Name: Janet Billingsley
Case No.: 2:18-cv-06149

                      DECLARATION OF PLAINTIFF’S COUNSEL


       I represent Janet Billingsley, whose case is on a Notice of Non-Compliance to be heard

by the Court on May 15, 2020.     I reviewed the deficiency and the Notice of Non-Compliance,

and the client has been advised that unless the deficiency is cured, the case could be dismissed

with prejudice.

       The deficiency is not cured and counsel is not aware of any defense to the request for a

dismissal.


/s/ Richard L. Root            .
Richard L. Root, LA Bar No.19988
Morris Bart, LLC
601 Poydras Street, 24th Floor
(504) 525-8000
RRoot@morrisbart.com

Dated: May 9, 2020
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                                    CERTIFICATE OF SERVICE


              I hereby certify that on May 9, 2020, I electronically filed the foregoing with the Clerk of
the Court by using the CM/ECF system, which will send a notice of electronic filing to all counsel of
record who are CM/ECF participants.
        DATED: 9, May, 2020                         /s/Richard L. Root______




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